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                     EXHIBIT #5




Group 1 – Google’s Responsive Claim Construction Brief
(Civil Case Nos. 6:20-cv-00571-ADA, 6:20-cv-00578-ADA, 6:20-cv-00583-ADA, and 6:20-
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